Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 1 of 10 PageID #: 38




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION

GRAND ACADIAN, INC.                          *       CIVIL ACTION NO. CV-07-0295
                                             *
                      Plaintiff              *       JUDGE MINALDI
VERSUS                                       *
                                             *       MAGISTRATE JUDGE WILSON
FLUOR CORPORATION, ET AL                     *
              Defendants                     *
                                             *
*      *       *      *       *      *       *       *      *       *      *       *      *

       AFFIRMATIVE DEFENSES AND ANSWER OF FLUOR MANAGEMENT
                           COMPANY, L.P.

       NOW INTO COURT, through undersigned counsel, comes defendant, Fluor

Management Company, L.P. (“Fluor Management”), who files its affirmative defenses and

answer to the Petition of Grand Acadian, Inc. (“Petition”) as follows:

                                     Affirmative Defenses

                                          First Defense

       The Petition fails to state a claim against Fluor Management upon which relief may be

granted.

                                         Second Defense

       Plaintiff’s claims are barred or precluded under the Stafford Act, 42 U.S.C. 5148, et seq.

                                         Third Defense

       Plaintiff’s claims fail, in whole or in part, because plaintiff has failed to join

indispensable parties, as required by Federal Rule of Civil Procedure 19 and/or Louisiana Code

of Civil Procedure Article 641.
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 2 of 10 PageID #: 39




                                             Fourth Defense

         Fluor Management is not a properly named defendant in this matter.

                                              Fifth Defense

         Any work done by Fluor Management was done under the supervision and/or direction

and/or control of the Federal Emergency Management Agency (“FEMA”) and Fluor

Management is thereby immune from suit and from tort liability in accordance with the

“Government Contractor Defense” recognized in Boyle v. United Technologies Corp., 487 U.S.

500, 108 S. Ct. 2510, 101 L. Ed. 442 (1988) and Hercules v. U.S., 516 U.S. 417, 116 S. Ct. 981,

134 L. Ed 2d 47 (1996).

                                              Sixth Defense

         Plaintiff’s claims are premature.

                                             Seventh Defense

         Plaintiff’s claims are barred, in whole or in part, by the doctrine of intervening and/or

superseding cause.

                                             Eighth Defense

         Plaintiff’s claims are barred, in whole or in part, by the lack of contractual privity

between plaintiff and Fluor Management.



                                                Answer

         And now answering the specific allegations of the Petition, Fluor Management avers as

follows:




{L0033846.1}                                       2
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 3 of 10 PageID #: 40




                                                  1.

         Fluor Management admits that Fluor Management is a Delaware corporation who’s

registered agent for service of process is as set forth. All other allegations contained in ¶ 1 of the

Petition are denied for lack of sufficient information to justify a belief therein.

                                                  2.

         The allegations contained in ¶ 2 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  3.

         The allegations contained in ¶ 3 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  4.

         The allegations contained in ¶ 4 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  5.

         The allegations contained in ¶ 5 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  6.

         The allegations contained in ¶ 6 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  7.

         The allegations contained in ¶ 7 of the Petition are denied for lack of sufficient

information to justify a belief therein.




{L0033846.1}                                       3
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 4 of 10 PageID #: 41




                                                  8.

         Fluor Management admits that Hurricane Katrina made landfall and affected the New

Orleans area on or about August 29, 2005. All other allegations contained in ¶ 8 of the Petition

are denied for lack of sufficient information to justify a belief therein.

                                                  9.

         The allegations contained in ¶ 9 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  10.

         Fluor Management admits that Hurricane Rita made landfall on or about September 24,

2005. All other allegations contained in ¶ 10 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  11.

         The allegations contained in ¶ 11 of the Petition are denied for lack of sufficient

information to justify a belief therein.

                                                  12.

         Fluor Management admits that Fluor Enterprises, Inc. was a contractor for FEMA,

however, Fluor Management specifically denies as written the remaining allegations contained in

¶ 12 of the Petition.

                                                  13.

         In response to the allegations contained in ¶ 13 of the Petition, Fluor Management admits

that Fluor Enterprises, Inc., at the request of FEMA, copied Pat McConnaghhay on a work plan

on November 21, 2005. All other allegations contained in ¶ 13 of the Petition are denied as

written.



{L0033846.1}                                       4
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 5 of 10 PageID #: 42




                                                 14.

         The allegations contained in ¶ 14 of the Petition are denied.

                                                 15.

         The allegations contained in ¶ 15 of the Petition are denied as written.

                                                 16.

         The allegations contained in ¶ 16 of the Petition are denied as written.

                                                 17.

         The allegations contained in ¶ 17 of the Petition are denied.

                                                 18.

         The allegations contained in ¶ 18 of the Petition are denied as written.

                                                 19.

         The allegations contained in ¶ 19 of the Petition are denied.

                                                 20.

         The allegations contained in ¶ 20 of the Petition are denied.

                                                 21.

         The allegations contained in ¶ 21 of the Petition are denied.

                                                 22.

         The allegations contained in ¶ 22 of the Petition are denied.

                                                 23.

         The allegations contained in ¶ 23 of the Petition are denied.

                                                 24.

         The allegations contained in ¶ 24 of the Petition are denied.




{L0033846.1}                                      5
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 6 of 10 PageID #: 43




                                                 25.

         The allegations contained in ¶ 25 of the Petition are denied.

                                                 26.

         The allegations contained in ¶ 26 of the Petition are denied.

                                                 27.

         In response to the allegations contained in ¶ 27 of the Petition, Fluor Management

specifically denies that Fluor Management destroyed the described “FEMA-West-Half” and

denies that any actions of Fluor Management prevented work by plaintiff on the described

“Grand-East-Half.” All other allegations contained in ¶ 27 are denied for lack of sufficient

knowledge to justify a belief therein.

                                                 28.

         The allegations contained in ¶ 28 of the Petition are denied.

                                                 29.

         In response to the allegations contained in ¶ 29 of the Petition, Fluor Management is

without sufficient information to justify a belief therein as to the alleged cost of the dirt work on

the Grand-East-Half. All other allegations contained in ¶ 29 are denied.

                                                 30.

         The allegations contained in ¶ 30 of the Petition are denied.

                                                 31.

         The allegations of contained in ¶ 31 of the Petition contain mixed conclusions of law and

fact that do not require an answer from Fluor Management. However, to the extent an answer is

deemed required, the allegations are denied.




{L0033846.1}                                      6
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 7 of 10 PageID #: 44




                                                 32.

         Fluor Management specifically denies that it entered into a contractual agreement with

Plaintiff.     Further, all other allegations contained in ¶ 32 of the Petition, including the

conclusions of law, are denied.

                                                 33.

         The allegations contained in ¶ 33 of the Petition constitute conclusions of law that do not

require an answer from Fluor Management. However, to the extent an answer is deemed

required, they are denied.

                                                 34.

         The allegations contained in ¶ 34 of the Petition constitute conclusions of law that do not

require an answer from Fluor Management. However, to the extent an answer is deemed

required, they are denied.

                                                 35.

         The allegations contained in ¶ 35 of the Petition constitute conclusions of law that do not

require an answer from Fluor Management. However, to the extent an answer is deemed

required, they are denied.

                                                 36.

         The allegations contained in ¶ 36 of the Petition are not directed at Fluor Management

and do not require a response from Fluor Management. However, to the extent an answer is

deemed required, the allegations are denied.




{L0033846.1}                                      7
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 8 of 10 PageID #: 45




                                                  37.

         The allegations contained in ¶ 37 of the Petition are not directed at Fluor Management

and do not require a response from Fluor Management. However, to the extent an answer is

deemed required, the allegations are denied.

                                                  38.

         Any and all remaining allegations contained in the Petition, including those in the

Preamble and the Prayer, that have not been specifically addressed in this answer are denied.

AND NOW, FURTHER ANSWERING, Fluor Management affirmatively avers as follows:

                                                  39.

         Fluor Management avers that it has no liability for any subcontractors as it is not

vicariously liable under the doctrine of respondeat superior for subcontractors.

                                                  40.

         Any alleged damage occurred as a result of the fault or negligence of others for whom

Fluor Management is not liable or responsible, and over whom Fluor Management has no

control.

                                                  41.

         The damages allegedly sustained resulted from the fault, acts, and negligence or omission

of others, including Plaintiff, for whom Fluor Management is neither liable nor responsible.

                                                  42.

         In the alternative, and only if it is determined that Plaintiff is entitled to recover against

Fluor Management, which is expressly denied, Plaintiff’s recovery should be reduced in

proportion to the degree or percentage of negligence or fault attributable to any other person for

whom Fluor Management is neither liable nor responsible.



{L0033846.1}                                       8
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 9 of 10 PageID #: 46




                                                   43.

         In the further alternative, Plaintiff has failed to mitigate its damages.

                                                   44.

         Fluor Management hereby gives notice that it intends to rely upon any and all other such

affirmative defenses as may become available or apparent during the course of discovery and,

thus, reserves the right to amend its answer to assert any and all such defenses.



         WHEREFORE, Defendant, Fluor Management Company, L.P. respectfully requests that,

after due proceedings had, Plaintiff’s claims be dismissed with prejudice, at Plaintiff’s sole cost,

and for all general and equitable relief as this Court deems just and necessary.

Dated: February 26, 2007
                                                Respectfully submitted,

                                                 s/Karen D. Ancelet
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{L0033846.1}                                        9
Case 2:07-cv-00295-PM-KK Document 2 Filed 02/26/07 Page 10 of 10 PageID #: 47




                                              And

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                                              Attorneys for Fluor Management Company, L.P.


                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing has been served on all counsel of

record via U.S. Mail, ECF, e-mail, hand delivery, or facsimile this 26th day of February, 2007.


                                               s/Karen D. Ancelet




{L0033846.1}                                    10
